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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                                        CASE NO. 18-80629-CIV-DIMITROULEAS
  RICHARD GRAFFIUS,

         Plaintiff,
  vs.

  DOLLAR FINANCIAL GROUP, INC.,

        Defendant.
  _____________________________________/

                         ORDER OF DISMISSAL WITHOUT PREJUDICE

         THIS CAUSE is before the Court on the Joint Stipulation for Dismissal Without

  Prejudice [DE 22], filed herein on October 18, 2018. The Court has carefully considered the

  Stipulation and is otherwise fully advised in the premises.

         Accordingly, it is ORDERED AND ADJUDGED as follows:

         1.      The Stipulation is APPROVED;

         2.      This case is DISMISSED WITHOUT PREJUDICE, with each party to bear

                 their own costs and attorneys’ fees;

         3.      This case remains closed.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

  this 19th day of October, 2018.




  Copies furnished to:

  All Counsel of Record
